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     Attorneys for Plaintiff, CINDY BAKER, on behalf of herself and all others
9
     similarly situated
10                        UNITED STATES DISTRICT COURT
11
           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DISTRICT
12

13
     CINDY BAKER, on behalf of herself          Case No.
     and all other similarly situated,
14                                               CLASS ACTION COMPLAINT
15                   Plaintiff                   FOR:
16                       v.                      1. VIOLATION OF CALIFORNIA
17                                                  FALSE ADVERTISING LAWS
     NESTLE S.A., a Swiss corporation,              [Business and Professional Code
18
     NESTLE USA, INC., a Delaware                   §17500 et seq., Cal. Civ. Code §
19   corporation, NESTLE WATERS                     1750 et seq.]
     NORTH AMERICA, a Delaware                   2. VIOLATION OF THE UNFAIR
20
     corporation, and DOES 1 through 100,           COMPETITION LAW
21   inclusive,                                     [Business and Professional Code
                                                    § 17200 et seq.]
22
                    Defendants.                  3. BREACH OF EXPRESS
23                                                  WARRANTY
24
                                                 4. FRAUD
                                                 5. NEGLIGENT
25                                                  MISREPRESENTATION
26                                               6. RESTITUTION
                                                 7. INJUNCTION
27

28                                              DEMAND FOR JURY TRIAL

                                            1
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1            Plaintiff Cindy Baker, on behalf of herself and all others similarly situated
2    brings this action against defendants Nestle S.A., Nestle USA, Inc., Nestle Waters
3    North America, and DOES 1 through 100 and state:
4
                                         I. PARTIES
5
         A. Plaintiff
6
          1.         Plaintiff Cindy Baker (“Plaintiff”) is a California resident
7
     who on multiple occasions in the last year has purchased and consumed Nestle
8
     Pure Life Purified bottled water for herself and her family in Los Angeles,
9
     California. In particular, on about October 31, 2017, Plaintiff purchased a case of
10
     Nestle Pure Life Purified bottled water for her and her family at the Smart & Final
11
     located in Encino, California.
12

13       B. Defendants
14           2.      Defendant Nestle S.A. (“Nestle Switzerland”) is a Swiss corporation
15   located in Vevey, Switzerland, and doing business throughout the United States,
16   California, including the County of Los Angeles.
17
             3.      Defendant Nestle USA, Inc. (“Nestle USA”) is a Delaware
18
     corporation located in Stamford, Connecticut, and doing business throughout
19
     California, including the County of Los Angeles.
20
             4.      Defendant Nestle Waters North America (“Nestle North America”) is
21
     a Delaware corporation located in Arlington, Virginia, and doing business
22
     throughout California, including the County of Los Angeles.
23
             5.      Nestle Switzerland, Nestle USA and Nestle North America are
24
     referred to herein as Defendants.
25
             6.      Plaintiffs are informed and believe, and based thereon allege, that
26
     each defendant acted in all respects pertinent to this action as the agent of the other
27
     Defendants, carried out a joint scheme, business plan or policy in all respects
28

                                                  2
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1    pertinent hereto, and the acts of each defendant are legally attributable to the other
2    defendants. Furthermore, Defendants in all respects acted as the employer and/or
3    joint employer of Plaintiffs. Plaintiffs are informed and believe and thereon allege
4
     that at all times relevant to this action, the named defendant and defendants DOES
5
     1 through 100 were affiliated and were an integrated enterprise.
6
                                  II.    FACTUAL ALLEGATIONS
7
              7.     Recently, the World Health Organization (“WHO”) announced that it
8
     is launching a review of the potential risks of plastic particles in certain bottled
9
     drinking water, including Nestle Pure Life Purified bottled water, after a study
10
     found high levels of tiny pieces of plastic in the samples tested.
11
              8.     The testing and analysis was recently conducted at the State
12
     University of New York in Fredonia as part of a project from the U.S.-based
13
     journalism organization Orb Media. Of the tested bottled water brands, Nestle
14
     Pure Life Purified bottled drinking water was found to contain high levels of
15

16
     plastic particles, with alarming rates of micro plastics per liter detected.

17
              9.     The study found that Nestle Pure Life Purified bottle drinking water

18   contained various microplastics, including polypropylene, nylon, and polyethylene

19   terephthalate.
20            10.    In one case, a bottle of Nestlé Pure Life Purified bottled drinking
21   water was found to contain more than 10,000 pieces of microplastic per liter of
22   water.
23            11.    Plaintiff has recently purchased and consumed Nestle Pure Life
24   Purified drinking water purchased from Smart & Final in Encino, California.
25

26

27

28

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1                       III.    CLASS DEFINITION AND ALLEGATION
2            12.     Plaintiff seeks to represent the following subclasses of California
3    consumers pursuant to Federal Rule of Civil Procedure Rule 23:
4
                     Subclass 1 (California False Advertising Subclass). All persons who
5
                     purchased Nestle Pure Life Purified bottled drinking water in
6
                     California, in the last 4 years.
7
                     Subclass 2 (California Consumption Subclass). All persons who
8
                     consumed Nestle Pure Life Purified bottled drinking water in
9
                     California, in the last 4 years.
10
                     Subclass 3 (U.S. Purchase Subclass). Plaintiffs seek to represent all
11
                     persons who purchased Nestle Pure Life Purified bottled drinking
12
                     water in the United States, in the last 4 years.
13
                     Subclass 4 (U.S Consumption Subclass). Plaintiffs seek to represent
14
                     all persons who consumed Nestle Pure Life Purified bottled drinking
15

16
                     water in the United States, in the last 4 years.

17
             Plaintiff reserves the right to amend these subclasses.

18                                   IV.   CLASS ALLEGATIONS
19           13.     Numerosity. The members of the proposed class are so numerous that
20   their individual joinder is impracticable. Plaintiff is informed and believes, and on
21   that basis alleges, that the proposed class contains hundreds of thousands of
22   members. The precise number of proposed class members is unknown to Plaintiff.
23   The true number of the proposed class is known by the Defendant, however, and
24   thus, may be notified of the pendency of this action by first class mail, electronic
25   mail, and by published notice.
26           14.     Existence and Predominance of Common Questions of Law and
27   Fact. Common questions of law and fact exist as to all members of the proposed
28

                                                   4
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1    class and predominate over any questions affecting only individual proposed class
2    members. These common legal and factual questions regarding, among other
3    things, whether bottled water marketed, labeled, and sold as “pure” and “purified”
4
     constitutes an actionable act or omission based upon the recent studies finding high
5
     levels of plastics in Nestle Pure Life Purified bottled water and include , but are not
6
     limited to, the following:
7
                    (a)       whether Defendants had adequate substantiation for their claims
8
                              prior to making them;
9
                   (b)        whether the advertising claims made by Defendants are true, or
10
                              are false and/or misleading, or reasonably likely to deceive;
11
                   (c)        whether Defendants’ alleged conduct violates public policy;
12
                   (d)        whether the alleged conduct constitutes violations of the laws
13
                              asserted;
14
                   (e)        whether Defendants engaged in false or misleading advertising;
15

16
                   (f)        whether Plaintiff and the proposed class have sustained

17
                              monetary loss and the proper measure of that loss;

18                 (g)        whether Plaintiff and the proposed class are entitled to an award

19                            of punitive damages;
20                 (h)        whether Plaintiff and the proposed class are entitled to
21                            declaratory and injunctive relief; and
22                 (i)        whether Plaintiff and the proposed class are entitled to
23                       restitution.
24           15.     Typicality. Plaintiff's claims are typical of the claims of the proposed
25   class in that the Defendants were unjustly enriched as a result of Plaintiff’s and the
26   proposed class’ respective purchases of the bottled water at issue.
27

28

                                                     5
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1          16.       Adequacy of Representation. Plaintiff will fairly and adequately
2    protect the interests of the members of the proposed class. Plaintiff has retained
3    counsel experienced in complex consumer class action litigation. Plaintiff intends
4
     to prosecute this action vigorously. Plaintiff has no adverse or antagonistic
5
     interests to those of the proposed class.
6
           17.       Superiority. A class action is superior to all other available means for
7
     the fair and efficient adjudication of this controversy. The damages or other
8
     financial detriment suffered by individual proposed class members is relatively
9
     small compared to the burden and expense that would be entailed by individual
10
     litigation of their claims against the defendant. It would thus be virtually
11
     impossible for the class, on an individual basis, to obtain effective redress for the
12
     wrongs done to them. Furthermore, even if proposed class members could afford
13
     such individualized litigation, the court system could not. Individualized litigation
14
     would create the danger of inconsistent or contradictory judgments arising from the
15

16
     same set of facts. Individualized litigation would also increase the delay and

17
     expense to all parties and the court system from the issues raised by this action. By

18   contrast, the class action device provides the benefits of adjudication of these

19   issues in a single proceeding, economies of scale, and comprehensive supervision
20   by a single court, and presents no unusual management difficulties under the
21   circumstances here.
22         18.       Unless a class action is certified here, Defendants will retain monies
23   received as a result of its conduct that was taken from Plaintiff and proposed class
24   members. Unless a class-wide injunction is issued, Defendants will continue to
25   commit the violations alleged, and the proposed class members and the general
26   public will continue to be misled.
27

28

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1                                    FIRST CLAIM FOR RELIEF
2                             Violation of California False Advertising Laws
3                             Business and Professional Code §17500 et seq.,
                                       Cal. Civ. Code § 1750 et seq.
4

5          19.       Plaintiff incorporates by reference and realleges each and every
6    allegation contained in the foregoing paragraphs as though fully set forth herein.
7          20.       Plaintiff brings this claim individually and on behalf of the proposed
8    class.
9          21.       This cause of action is brought pursuant to the California Business
10   and Professions Code § 17200 et seq. and Consumers Legal Remedies Act,
11   California Civil Code §1750, et seq. (“CLRA”). Plaintiff and members of the
12   proposed class are consumers as defined by California Civil Code §1761(d).
13
     Defendants’ water described herein are goods within the meaning of California
14
     Civil Code §1761(a).
15
           22.        Plaintiff alleges Defendants, and each of them, violated and continue
16
     to violate the CLRA by engaging in the following practices proscribed by
17
     California Civil Code §1770(a) in transactions with Plaintiff and the proposed class
18
     which were intended to result in, and did result in, the sale of the above-referenced
19
     water:
20
                     (1)     Misrepresenting the source, sponsorship, approval, or
21
                             certification of goods or services;
22
                     (2)     Using deceptive representations or designations of geographic
23
                             origin in connection with goods or services;
24

25
                     (3)     Representing that goods or services have sponsorship, approval,

26
                             characteristics, ingredients, uses, benefits, or quantities which

27                           they do not have or that a person has a sponsorship, approval,

28                           status, affiliation, or connection which he or she does not have;

                                                   7
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1                    (4)     Representing that goods or services are of a particular standard,
2                            quality, or grade, or that goods are of a particular style or
3                            model, if they are of another;
4
                     (5)     Advertising goods or services with intent not to sell them as
5
                             advertised.
6
           23.       Defendants’ advertising, marketing, packaging, labeling and bottling
7
     is misleading, and misrepresents or omits important information to potential
8
     purchasers and consumers of Nestle Pure Life Purified bottled water. Defendants,
9
     and each of them, have violated and continue to violate the CLRA by
10
     misrepresenting the purity and purification of this water. Defendants, and each of
11
     them, knew or should have known, that the representations and advertisements
12
     were false and misleading. Defendants, and each of them, have intentionally,
13
     negligently and recklessly concealed and omitted the truth about the purity and
14
     purification of the water sold to the public. By doing so, Defendants encouraged
15

16
     consumers to purchase bottled water they believed was pure and purified.

17
            24.       Pursuant to California Civil Code §1782(d), Plaintiff and the

18   proposed class seeks a Court order enjoining the above-described wrongful acts

19   and practices of Defendants and for restitution and disgorgement.
20         25.        Pursuant to section 1782 of the Act, by certified letters dated March
21   21, 2018, Plaintiff and the proposed class notified Defendants in writing by
22   certified mail of the particular violations of the CLRA set forth in §1770, and
23   demanded that Defendants stop the sale, distribution, advertising, marketing,
24   labeling, packaging or bottling of Nestle Pure Life Purified drinking water in
25   California, and to pay full restitution to all affected California consumers. The
26   CLRA letter was mailed as directed by Civil Code §1782. Plaintiffs will amend
27

28

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1    this Complaint to bring specific claims under the CLRA after the statutory period
2    has passed.
3          26.       Plaintiffs allege Defendants’ conduct is malicious, fraudulent, willful
4
     and wanton, and Defendants intentionally misleads and withholds material
5
     information from consumers in order to increase the sale of their bottled water.
6
     Plaintiff and the class members would not have purchased Nestle Pure Life
7
     Purified bottled water had it not been for Defendants’ misrepresentations and
8
     concealment of material misrepresentations and omissions.
9
           27.       Concurrent with the filing of the complaint in this action, Plaintiffs
10
     filed an Affidavit of Venue in accordance with Civil Code section 1780(d).
11
                                   SECOND CLAIM FOR RELIEF
12
                 Violation of Business &Professions Code Section 17200, et seq.,
13
                                         Section 17500 et seq.
14
           28.       Plaintiff incorporates by reference and realleges each and every
15

16
     allegation contained in the foregoing paragraphs as if fully set forth herein.

17
           29.       Plaintiff brings this claim individually and on behalf of the proposed

18   class for the last four years and continuing.

19         30.       The Unfair Competition Law, Business & Professions Code §17200,
20   et seq. (“UCL”), prohibits any “unlawful,” “fraudulent” or “unfair” business act or
21   practice and any false or misleading advertising. In the course of conducting
22   business, Defendants committed unlawful business practices by, inter alia, making
23   the representations (which also constitutes advertising within the meaning of
24   §17200) and omissions of material facts, as set forth more fully herein, and
25   violating Civil Code §§1572, 1573, 1709, 1710, 1711, 1770, Business &
26   Professions Code §§17200, et seq., 17500, et seq., California Health & Safety
27   Code §110390 et seq., 21 U.S.C. §301, et seq., and the common law.
28

                                                  9
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1           31.       As alleged herein, Defendants’ misrepresentations and omissions of
2     material facts, constitute “unfair” business acts and practices within the meaning of
3     Business & Professions Code §§17200, et seq., in that Defendants’ conduct was
4
      injurious to consumers, offended public policy, and was unethical and
5
      unscrupulous.
6
            32.       Plaintiff also asserts Defendants violated public policy by withholding
7
      material facts regarding, among other things, the purity and purification of its
8
      bottled drinking water from consumers. Defendants’ violation of California’s
9
      consumer protection and unfair competition laws in California resulted in harm to
10
      consumers including Plaintiff and the proposed class.
11
            33.        Plaintiff and the proposed class have suffered injury in fact and lost
12
      money or property as a result of Defendants’ conduct.
13
            34.       Plaintiff and the class she seeks to represent reserve the right to allege
14
      other violations of law which constitute other unlawful business acts or practices.
15

16
            35.       The actions of Defendants constitute “unfair” business acts or

17
      practices because, as alleged above herein.

18          36.       Plaintiff alleges violations of consumer protection, unfair competition

19    and truth in advertising laws, resulting in harm to Plaintiff and other purchasers
20    and consumers of Nestle Pure Life Purified drinking water. Defendants’ acts and
21    omissions also violate and offend the public policy against engaging in false and
22    misleading advertising, unfair competition and deceptive conduct towards
23    consumers. This conduct violates the unfair prong of Business & Professions Code
24    § 17200, et seq.
25          37.        Defendants’ actions, claims, nondisclosures, and misleading
26    statements, as alleged in this Complaint, were false, misleading and likely to
27

28

                                                   10
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1     deceive the consuming public within the meaning of Business & Professions Code
2     §17200, et seq.
3           38.       Plaintiff and other members of the proposed class have in fact been
4
      deceived as a result of their reasonable reliance on Defendants’ representations and
5
      omissions as alleged herein. Plaintiff and other proposed class members have
6
      suffered injury in fact and lost money as a result of these unlawful, unfair, and
7
      fraudulent practices.
8
            39.       As a result of this conduct, Defendants have been able to reap unjust
9
      revenue and profit.
10
            40.       Unless restrained and enjoined, Defendants will continue to engage in
11
      the above-described conduct. Accordingly, Plaintiff alleges injunctive relief is
12
      appropriate.
13
            41.       Plaintiffs, on behalf of themselves, all others similarly situated, and
14
      the general public, seeks restitution and disgorgement of all money obtained from
15

16
      Plaintiff and the proposed class collected as a result of unfair competition, an

17
      injunction prohibiting Defendants from continuing such practices, corrective

18    advertising and all other relief this Court deems appropriate, consistent with

19    Business & Professions Code §17203.
20                                    THIRD CLAIM FOR RELIEF
21                                        Breach of Express Warranty
22          42.       Plaintiff incorporates by reference and realleges each and every
23    allegation contained in the foregoing paragraphs as though fully set forth herein.
24          43.       Plaintiff, and each member of the proposed class, formed a contract
25    with Defendants at the time Plaintiff and the other members of the proposed class
26    purchased Defendants’ bottled water based on the representations and warranties
27    made by Defendants, including that Defendants’ water is “pure” and “purified”.
28

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1           44.       The terms of sale included promises and affirmations of fact made by
2     Defendants to consumers in Defendants advertisements and through Defendant’s
3     long-term and widespread, pervasive marketing campaign, as described herein.
4
            45.       This advertising, marketing, and packaging included express
5
      warranties, which became part of the basis of the bargain, and is part of a
6
      standardized contract between Plaintiff and the members of the proposed class on
7
      the one hand, and Defendants on the other. Nestle, through its advertising,
8
      marketing and packaging misrepresents the purity and purification of this water.
9
            46.       Defendants, and each of them, breached the terms of their contracts,
10
      including the express warranties with Plaintiff and the proposed class by not
11
      providing its consumers with the bottled water they believed they were purchasing,
12
      as alleged above.
13
            47.       As a result of Defendants’ breach, Plaintiff and the proposed class
14
      have been damaged as alleged herein.
15

16
                                          FOURTH CLAIM FOR RELIEF

17                        VIOLATION OF FALSE ADVERTISING LAW

18                     (California Business & Professions Code §§ 17500 et seq.)
19          48.       Plaintiff incorporated by reference and re-alleges each and every
20    allegation contained in the foregoing paragraphs as though fully set forth herein.
21          49.       California Business and Professions Code section 17500 prohibits
22    “unfair, deceptive, untrue or misleading advertising.”
23          50.       Defendants violated California Business and Professions Code section
24    17500 by, among other things, misrepresenting the purity and purification of this
25    water. Nestle Pure Life Purified bottled drinking water was found to contain
26    unacceptable amounts of plastic particles.              These tested bottles showed
27    microplastic contamination.             Defendants’ advertising, marketing, packaging,
28

                                                     12
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1     labeling and bottling is misleading, and misrepresents or omits important
2     information to potential purchasers or consumers of it.
3           51.       Plaintiffs allege Defendants’ deceptive practices were specifically
4
      designed to induce Plaintiff and the proposed class to purchase the Nestle Pure Life
5
      bottled drinking water over those of Defendants’ competitors. Defendants’
6
      deceptive practices were carried out in Defendants’ advertising, marketing and
7
      packaging, all which misrepresents the purity and purification of Nestle’s Pure Life
8
      bottled water.
9
            52.       Plaintiff and the proposed class would not have purchased Nestle Pure
10
      Life Purified bottled drinking water had it not been for Defendant’s omissions,
11
      misrepresentations and concealment of material facts regarding whether Nestle
12
      Pure Life Purified drinking water is pure or purified.
13
            53.       Plaintiff alleges she and the proposed class were denied the benefit of
14
      the bargain when they decided to purchase Nestle’s Pure Life Purified bottled
15

16
      drinking water over other brands. Had Plaintiff and the proposed class been aware

17
      that Nestle Pure Life Purified bottled drinking water contained unacceptable

18    amounts of plastic particles and microplastic contamination, they would not have

19    purchased Defendants bottled water. But for Defendants’ false and misleading
20    advertising and labeling, and omissions of fact regarding the purity or purification
21    of this water, Plaintiff and the proposed class would not have purchased or
22    consumed Nestle Pure Life Purified bottled drinking water, who specifically
23    promoted the purity and purification of this bottled water.
24          54.       The content of the advertisements, as alleged herein, were of a nature
25    likely to deceive a reasonable consumer. Defendants’ advertising, marketing and
26    packaging misrepresents the purity and purification of this water.
27

28

                                                  13
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1            55.      Defendants have engaged in an intensive, long-term and pervasive
2     advertising campaign, to which the consumers, including Plaintiff, were exposed,
3     Plaintiff need not present each and every advertisement upon which he relied. In
4
      re Tobacco II Cases (2009) 46 Cal.4th 298, 328 (“where, as here, a plaintiff alleges
5
      exposure to a long-term advertising campaign, the plaintiff is not required to plead
6
      with an unrealistic degree of specificity that the plaintiff relied on particular
7
      advertisements or statements.”)
8
            56.       Defendants knew, or in the exercise of reasonable care, should have
9
      known, that the representations were untrue or misleading and likely to deceive
10
      reasonable purchasers and consumers of their bottled water.
11
            57.       Defendants’ misrepresentations and omissions alleged herein are
12
      objectively material to the reasonable consumer, and reliance upon such
13
      misrepresentations and omissions also established causation between Defendants’
14
      conduct and Plaintiff and the proposed class’ injuries.
15

16
            58.       Unless restrained by this Court, Defendant will continue to engage in

17
      misleading advertising, as alleged above, in violation of California Business and

18    Professions Code section 17500.

19          59.       As a result of the foregoing, Plaintiff and the proposed class have
20    been injured in fact and lost money or property, and they are entitled to restitution
21    and injunctive relief.
22                                        FIFTH CLAIM FOR RELIEF
23                                                FRAUD
24          60.       Plaintiff incorporates by reference and realleges each and every
25    allegation contained in the foregoing paragraphs as though fully set forth herein.
26          61.       Plaintiff brings this cause of action on behalf of herself and the
27    members of the proposed class.
28

                                                   14
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1           62.       When Defendants advertised and labeled, and continue to advertise
2     and label, Nestle Pure Life Purified drinking water to consumers as “pure” and
3     “purified” Defendants knew these advertising statements were false and
4
      misleading.
5
            63.       Plaintiff and the proposed class would not have reasonably decided to
6
      purchase or consume Defendants’ drinking water but for Defendants’ false and
7
      misleading representations and concealment of material facts.
8
            64.       By misrepresenting and concealing material information about Nestle
9
      Pure Life Purified drinking water, Defendants intended to induce, and did
10
      reasonably induce, Plaintiff and the proposed class into purchasing and consuming
11
      this water.
12
            65.       Plaintiff and the proposed class justifiably relied on the
13
      representations made by Defendants about Nestle Pure Life Purified drinking
14
      water.
15

16
            66.       Defendants representations and omissions regarding the Pure Life

17
      Purified bottled water, namely that the water is pure and purified, were made with

18    knowledge or with reckless disregard for the true purity and purification of the

19    water.
20          67.       Defendants and each of them: made representations, as facts, which
21    were not true and Defendants did not believe to be true at the time made; made
22    assertions, as facts, which were not true and Defendants had no reasonable grounds
23    for believing to be true at the times they were made; misled the public, through
24    misleading images and in other manners (e.g., by misrepresenting the purity and
25    purification of the water; and/or suppressed facts, which it was bound to disclose,
26    or give information of other facts which were likely to mislead for want of
27    communications of the suppressed facts.
28

                                                   15
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1           68.       As a result of Defendants’ wrongful conduct, Plaintiff and the
2     proposed class have suffered and continue to suffer economic losses and other
3     general and specific damages, including but not limited to monies paid for the
4
      water, and any interest that would have been accrued on those monies, all in an
5
      amount to be determined according to proof at time of trial.
6
            69.       As a direct and proximate result of Defendants’ misrepresentations
7
      and omissions, Plaintiff and the proposed class has been damaged in an amount
8
      according to proof at trial.
9
                                          SIXTH CLAIM FOR RELIEF
10
                                   NEGLIGENT MISRPRESENTATION
11
            70.       Plaintiff incorporates by reference and re-alleges each and every
12
      allegation contained in the foregoing paragraphs as though fully set forth herein.
13
            71.       Defendants had a reasonable duty of care to its consumers to not
14
      advertise, market and label Nestle Pure Life Purified drinking water as “pure” and
15

16
      “purified” if in fact this water contains high levels of plastic particles. Defendants,

17
      directly or through its agents and employees, breached this duty of care by making

18    the false representations, concealments, and nondisclosures to Plaintiffs and the

19    proposed class as alleged herein. Defendants breached the duties owed to Plaintiff,
20    its consumers by engaging in a long-term advertising marketing and labeling
21    practice of false and misleading statements which deceive and mislead, and which
22    continue to deceive and mislead, consumers about Nestle Pure Life Purified bottled
23    water.
24          72.       In making the representations of fact to Plaintiff and the proposed
25    class described herein, Defendants and each of them, have, at a minimum,
26    negligently failed to fulfill its duties to disclose the material facts pertaining to the
27    water in question.
28

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1           73.       In making these representations and omissions, and in doing the acts
2     alleged above, Defendants acted without any reasonable or correct grounds for
3     marketing and labeling this bottled water as pure and purified. These omissions
4
      and representations were untrue, and Defendants either (a) intended by said
5
      representations to induce the reliance of Plaintiff and the proposed class, or (b)
6
      acted with negligent and reckless disregard of the possibility that Plaintiff and the
7
      proposed class would rely on these representations, to their detriment.
8
            74.       Plaintiff and the proposed class did in fact reasonably rely, and
9
      continue to rely on these false representations, concealments and nondisclosures by
10
      Defendants when purchasing Nestle Pure Life Purified bottled drinking water, and
11
      this reliance was justified.
12
            75.       As a result of Defendants’ wrongful conduct, Plaintiff and the
13
      proposed class have suffered and continue to suffer economic losses and other
14
      general and specific damages, including but not limited to the amounts paid for
15

16
      water, and any interest that would have been accrued on those monies, all in an

17
      amount to be determined according to proof at time of trial.

18                                        SEVENTH CLAIM FOR RELIEF
19                                              RESTITUTION
20          76.       Plaintiff incorporates by reference and realleges each and every
21    allegation contained in the foregoing paragraphs as though fully set forth herein.
22          77.       As a proximate result of the wrongful conduct described herein by
23    Defendants and each of them, Plaintiff and the proposed class have suffered and
24    continue to suffer damages, and are entitled to a return of all monies paid to
25    Defendants for the water in question.
26          78.       Plaintiff seeks restitution of all moneys paid to purchasers of Nestle
27    Pure Life Purified bottled water in the last four years.
28

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1                                         EIGHTH CLAIM FOR RELIEF
2                                               INJUNCTION
3               79.   Plaintiff incorporates all previous paragraphs of this complaint as
4
      though full set forth herein.
5
                80.   Plaintiff seeks injunctive relief under the CLRA to prohibit the
6
      unlawful acts alleged herein, which threaten ongoing and future injury to the
7
      general public. Plaintiff seeks injunctive relief as permitted by law or equity,
8
      including: enjoining Defendants from continuing the unlawful practices as set forth
9
      herein, and directing Defendants to identify, with Court supervision, victims of its
10
      conduct and pay them restitution and disgorgement of all monies acquired by
11
      Defendants by means of any act or practice declared by this Court to be wrongful.
12
      Plaintiff also seek injunctive relief ordering Defendants to engage in a corrective
13
      advertising campaign and to stop the sale, distribution, advertising, marketing,
14
      labeling, packaging or bottling of Nestle Pure Life Purified drinking water in
15

16
      California, and to pay full restitution to all affected California consumers.

17
                81.   Defendants’ bottled water advertising and marketing practices

18    caused Plaintiff suffer, and continues to suffer from false advertising and fraud

19    damages.
20              82.   Plaintiff seeks to enjoin Defendants’ continuing false and misleading
21    advertisements and labeling regarding the Nestle’s Pure Life Purified bottled
22    drinking water being pure or purified.
23              83.   Plaintiff and the proposed class do not have a plain, speedy, and
24    adequate remedy in the ordinary course of law, other than the requested injunctive
25    relief.
26              84.   If not enjoined, Defendants will continue to engage in the unfair and
27    illegal false advertising to its consumers.
28

                                                    18
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1                                         PRAYER FOR RELIEF
2           Wherefore, Plaintiff, on behalf of herself and the class, prays for a judgment:
3           1.        Certifying the proposed class lass as requested herein, and appointing
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      Plaintiff as Class Representative, and Plaintiff’s counsel as Class Counsel;
5
            2.        Awarding Plaintiff and the proposed class all due damages, including
6
      actual economic damages and general and specific damages;
7
            3.        Awarding restitution and disgorgement of Defendants’ revenues to
8
      Plaintiff and the proposed class;
9
            4.        Awarding injunctive relief as permitted by law or equity, including:
10
      enjoining Defendants from continuing the unlawful practices as set forth herein,
11
      and directing Defendants to identify, with Court supervision, victims of its conduct
12
      and pay them restitution and disgorgement of all monies acquired by Defendants
13
      by means of any act or practice declared by this Court to be wrongful;
14
            5.        Awarding injunctive relief ordering Defendants to engage in a
15

16
      corrective advertising campaign and to stop the sale, distribution, advertising,

17
      marketing, labeling, packaging or bottling of Nestle Pure Life Purified drinking

18    water in California, and to pay full restitution to all affected California consumers;

19          6.        Awarding attorneys' fees and costs to Plaintiff’s counsel;
20          7.        Awarding punitive damages as against Defendants;
21          8.        Awarding damages, fines and penalties against Defendants as
22    permitted by law;
23          9.        Providing such further relief as may be just and proper.
24    ///
25    ///
26    ///
27    ///
28

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1                                         JURY DEMAND
2           Plaintiff demands a trial by jury on all issues so triable.
3

4
      DATED: April 11, 2018                     HAMNER LAW OFFICES, APLC
5
                                               /s/ Christopher J. Hamner
6
                                               _______________________________
7                                              By: Christopher J. Hamner, Esq.
                                               Attorneys for Plaintiff Cindy Baker on
8
                                               behalf of herself, and others similarly
9                                              situated
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